  Fill in this information to identify your case:

  Debtor 1 .'AYME                             K                          FISHER
                      First Name              Middle Name               Last Name


  Debtor 2
  (Spouse, if filing) First Name              Middle Name               Last Name
                                                                                                                        0 9 2021
                                            DISTRICTOFARIZONA
  United States Bankruptcy Court for ths:
                                                                                                                 UNITED STATES
  Case number                                                                                                 BWKPUPTCYCOURT                      D Check ifthis is an
                                                                                                       FORTHED13TRICTOF ARIZONA ~ amended filing '


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out alt of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page,


Part 1:         Summarize Your Assets


                                                                                                                                              Your assets
                                                                                                                                              Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                      0
   1a. Copy line 55, Total real estate, from Schedule A/B.


    1b. Copy line 62, Total personal property, from Schedule A/B.                                                                                 $         7, 573.56

    1c. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                                  $         7,573.56

Part 2:         Summarize Your Liabilities



                                                                                                                                              Your liabilities
                                                                                                                                              Amount you owe
2. Schedule D: CreditorsWhoHave Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom ofthe last page of Part 1 oi Schedule D............                 5      ^, tt/.i

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copythe total claims from Part 1 (priority unsecured claims) from line 6e of Schedu/e&F............................................       "         '''

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.



                                                                                                                 Yourtotal liabilities            $     274, 294.98


Part 3:         Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                            1, 722. 25
    Copy your combined monthly income from line 12 of Schedule I.

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J                                                                                                  2, 611.96




                Case 2:21-bk-01666-PS
Official Form 106Sum                     Doc
                                 Summary of Your11
                                                 AssetsFiled  03/09/21
                                                        and Liabilities       Entered
                                                                        and Certain         03/10/21
                                                                                    Statistical           09:46:53
                                                                                                Information                                           Desc page 1
                                          Main Document                Page 1 of 52
                     JAYME          K                    FISHER
   Debtor 1                                                                                               Case number {itknown)
                     First Name     Middle Name         Last Name




    Part 4:       Answer These Questions for Administrative and Statistical Records


   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       Q No.
       3 Yes

   7. What kind of debt do you have?

       13 Your debts are primarily consumer debts. Consumer debtsare those "incurred byan individual primarily fora personal,
              family, or household purpose. " 11 U. S. C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S. C. § 159.

       1-1Yourdebtsare not primarilyconsumerdebts.Youhavenothingto reportonthispartoftheform. Checkthisboxandsubmit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              45. 99




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                  Total claim


        From Part 4 on Schedule E/F, copy the following:


      9a. Domestic support obligations (Copy line 6a.)                                                            $                         0. 00


      9b. Taxes and certain other debts you owe the government, (Copy line 6b.)                                   $               1   ,   356.00

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                         $                         0.00


      9d. Student loans. (Copy line 6f.)                                                                          $          178 691.00
                                                                                                                                      ,




      9e. Obligations arising out of a separation agreement or divorce that you did not report as                 $                         0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                      $                         0.00

      9g. Total. Add lines 9a through 9f.                                                                                    180 047.00
                                                                                                                                      ,




                Case Summary
Official Form 106Sum 2:21-bk-01666-PS
                             of Your Assets and Doc    11 andFiled
                                                Liabilities         03/09/21
                                                              Certain                 Entered
                                                                      Statistical Information                          03/10/21 09:46:53            Desc
                                                                                                                                                       page 2
                                                                  Main Document                Page 2 of 52
Fill in this information to identify your case and this filing:


Debtor 1             JAYME                         K                        FISHER
                     Flret Name                    Middle Name              Last Nams

Debtor 2
(Spouse, if filing) First Name                     Middle Name              Last Name


                                               DISTRICTOFARIZONA
United States Bankruptcy Court for the:

Case number
                                                                                                                                                Q Checkifthis is an
                                                                                                                                                   amended filing

Official Form 106A/B
Schedule                                :         rope t                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
   ^ No. Goto Part2.
    1-1 Yes. Where is the property?
                                                                      What is the property? Checkall that apply.
                                                                                                                       Do not deductsecured claims or exemptions. Put
                                                                      Q Single-familyhome                              the amount of any secured claims on Schedule D;
      1. 1.                                                           LI Duplex or multi-unit building                 CreditorsWhoHave Claims Securedby Property.
              Street address, if available, or other description
                                                                      1-1 Condominiumorcooperative                     Current value of the       Current value of the
                                                                      Q Manufacturedor mobile home                     entire property?           portion you own?
                                                                      a Land                                           $                          $
                                                                      Q Investment property
                                                                      Q Timeshare                                      Describe the nature of your ownership
              City                            State       ZIP Code
                                                                                                                       interest (such as fee simple, tenancy by
                                                                      Q Other
                                                                                                                       the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Checkone.
                                                                      1-1Debtor1 only
              County                                                  Q Debtor2 only
                                                                      Q Debtor 1 and Debtor 2 only                     Q Checkifthisiscommunityproperty
                                                                      Q At least one ofthe debtors and another             (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
   If you own or have more than one, list here:
                                                                     What is the property? Checkall that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                     Q Single-family home                              the amount of any secured claims on Schedule D:
     1. 2.                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                     Q Duplexor multi-unit building
              Street address, if available, or other description
                                                                     Q Condominiumorcooperative                        Current value of the       Current value of the
                                                                     Q Manufacturedormobilehome                        entire property?           portion you own?
                                                                     Q Land                                            $                          $
                                                                     Q Investmentproperty
                                                                     D Timeshare                                       Describe the nature of your ownership
              City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     1-1 Other                                         the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     Q Debtor1 only
              County                                                 Q Debtor2 only
                                                                     Q Debtor 1 and Debtor 2 only                      Q Check ifthis is community property
                                                                     Q At least one ofthe debtorsand another               (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


Official FormCase
              106A/B 2:21-bk-01666-PS                              DocSchedule
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                                                                                                                                                         page 1
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                    JAYME           K                       FISHER
 Debtor 1                                                                                                   Case number (ifknown)
                     First Name     Middle Name            Last Name




                                                                       What is the property? Checkall thatapply.               Do not deduct secured claims or exemptions. Put
                                                                       Q Single-family home                                    the amount of any secured claims on Schedule D:
      1.3.                                                                                                                     Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description        Q Duplexor multi-unit building
                                                                       Q Condominium orcooperative                             Current value of the      Current value of the
                                                                                                                               entire property?          portion you own?
                                                                       Q Manufacturedor mobile home
                                                                       1-1 Land                                                $

                                                                       Q Investment property
             City                             State     ZIP Code       Q Timeshare                                            Describe the nature of your ownership
                                                                                                                              interest (such as fee simple, tenancy by
                                                                       Q Other                                                the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Checkone.
                                                                       Q Debtor1 only
             County
                                                                       1-1 Debtor2 only
                                                                       1-1Debtor1 and Debtor2 only                            Q Check ifthis is community property
                                                                       Q At leastoneofthedebtorsandanother                          (see instructions)

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:


2. Add the dollar value ofthe portion you own for all of your entries from Part 1, including anyentries for pages                                                         0. 00
   you have attached for Part 1. Write that number here.




Part 2:       Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whetherthey are registered or not? Includeany vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   a No
   13 Yes

    3. 1.    Make:
                                           FORD                        Who has an interest in the property? Checkone.         Do not deductsecured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
             Model:
                                           EXPLORER                    Q Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                           2018                        Q Debtor 2 only
             Year:                                                                                                            Current value of the       Current value of the
                                                                       Q Debtor1 and Debtor2 only
                                           29500                                                                              entire property?           portion you own?
             Approximate mileage:                                      Bl At least one ofthe debtors and another
             Other information:
                                                                                                                                           26. 464. 00                    0. 00
              GOOD CONDITION                                           Q Check if this is community property (see
                                                                          instructions)



   If you own or have more than          one, describe here:

                                          VOLKSWAGEN                   Who has an interest in the property? Checkone.
   3.2.      Make:                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
             Model:                       JETTAHYBRID                  El Debtor1 only                                        Creditors Who Have Claims Secured by Property.
                                          2013                         Q Debtor2 only
             Year:                                                                                                            Current value of the       Current value of the
                                                                       LI Debtor1 andDebtor2 only
                                          71954                                                                               entire property?           portion you own?
             Approximate mileage:                                      Q At least oneofthe debtors and another
             Other information:
                                                                                                                                            3, 053. 00               3, 053. 00
              FAIR CONDITION                                           Q Checkifthis is community property (see
                                                                          instructions)




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                                                                  DocSchedule
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                JAYME            K                FISHER
 Debtor 1                                                                                           Case number {ifknawn)
                                 Middle Name      Last Name




    3.3.    Make:                                             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                            Q Debtor 1 only                                         CreditorsWhoHave Claims Securedby Property.
                                                              1-1 Debtor2 only
            Year:                                                                                                     Current value of the      Current value of the
                                                              Q Debtor 1 and Debtor2 only
            Approximate mileage:                                                                                      entire property?          portion you own?
                                                              Q At least one of the debtors and another
            Other information:
                                                              1-1Check if this is community property (see
                                                                 instructions)


    3.4.    Make:                                             Who has an interest in the property? Checkons.          Do not deductsecured claims or exemptions. Put
                                                              Q Debtor1 only                                          the amount of any secured claims on Schedule D:
            Model:                                                                                                    Creditors WhoHave Claims Securedby Property.
                                                              Q Debtor2 only
            Year:                                                                                                     Current value of the      Current value of the
                                                              Q Debtor1 andDebtor2 only
            Approximate mileage:                                                                                      entire property?          portion you own?
                                                              Q At leastoneofthedebtorsandanother
            Other information:
                                                              Q Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   SI No
   a Yes

   4. 1.    Make:                                             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                            Q Debtor 1 only                                         CreditorsWho Have ClaimsSecuredby Property.
                                                              Q Debtor2 only
            Year:
                                                              Q Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
            Other information:                                Q At least one of the debtors and another               entire property?          portion you own?

                                                              Q Checkifthis is community property (see
                                                                 instructions)



   If you own or have more than one, list here:

   4. 2.    Make:                                             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                            1-1 Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                              Q Debtor2 only
            Year:                                                                                                     Current value of the      Current value of the
                                                              Q Debtor 1 and Debtor2 only
            Other information:
                                                                                                                      entire property?          portion you own?
                                                              Q At leastoneofthe debtors and another

                                                              Q Check if this is community property (see
                                                                 instructions)




  Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                        3, 053.00
  you have attached for Part 2. Write that number here




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                                                        DocSchedule
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 Debtor1            JAYME                   K                           FISHER                                                               Casenumber(ffkno^)
                      First Name           Middle Name                  Last Name




Part 3:          Describe Your Personal and Household Items


Doyouownorhaveanylegalorequitableinterestinanyofthefollowing items?                                                                                                                                o^^^^fn^e
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     a No
     a    Yes. Describe.........           BED, BEDDING^ CHALRS, ^OpK ING UTENSILS, COUCH, EATING                                                                                                    $              1, 000. 00
                                           UTENSfLS FRlbGE FREEZER WASHERS" DRYERS,-BLENDER
7   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
    a No
     S3 Yes.Describe.......... COMPUTER, MUSIC PLAYER, OTHER, SMARTPHONE, ANDTV                                                                                                                   I$                 450. 00
8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    a No
    Q Yes.Describe..........                                                                                                                                                                        ^                    0. 00
9. Equipmentfor sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    LI No
    S3 Yes.Describe.......... BACKPACK, TENT, HANDHELDWEIGHTS, WORKOUT BENCH                                                                                                                        $                150. 00
10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    a No                                                                       ___
    Q Yes. Describe..........                                                                                                                                                                       ^                   0. 00
11.Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    a No                                                              _
    a Yes.Describe.......... ALLCLOTHESAND FOOTWEAR                                                                                                                                               |$                 350.00

12.Jewelry
    Examples: Everydayjewelry, costumejewelry, engagementrings, wedding rings, heirloom jewelry, watches, gems,
                     gold, silver
    a No
    S3 Yes. Describe.......... BRACELET, EARRINGS, NECKLACE, NON-WEDDING RING, AND WATCHES $                                                                                                                         100. 00
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    a No
    S3 Yes.Describe.......... CATS                                                                                                                                                                  $                   5. 00
14. Any other personal and household items you did not already list, including any health aids you did not list

    a No
    a
         ^rr^aZns.pecl.f'c...             TOOLS AND CART, YARD TOOLS, DESKS, TABLE, BOOKSHELVES AND
                                                                                                                                                                                                BC[ $                250.00


15.Addthedollarvalueofall ofyourentriesfrom Part3, includinganyentriesforpagesyou haveattached                                                                                            _         $               2 305.00
    for Part 3. Writethat number here .................................................................................................................................................... -^


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               JAYME            K                      FISHER
 Debtor 1                                                                                            Case number vtknown)
                                Middle Name            La3t Name




Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   a No
   a Yes.                                                                                                          Cash:                                 20.00


17. Deposits of money
   Examples: Checking, savings, or otherfinancial accounts; certificates ofdeposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.
   1-1 No
   E3 Yes.                                                         Institution name:



                                17. 1. Checking account:           WELLS FARGO                                                                            2.83
                                17.2. Checking account:            WELLSFARGO                                                                            45. 00
                                17. 3. Savings account:

                                17. 4. Savings account:

                                17. 5. Certificates of deposit:

                                17. 6. Other financial account:

                                17. 7. Other financial account:

                                17. 8. Other financial account:


                                17. 9. Other financial account:




18.Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   El No
   Q Yes.................       Institutionor issuername:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
   Q No                        Name ofentity:                                                                      % ofownership:
   Q Yes. Give specific         LEGACY LAW, PLLC                                                                       100 %                              0. 00
       information about
       them.........................                                                                             %
                                                                                                                              %




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                 JAYME               K                       FISHER
 Debtor 1                                                                                        Case number {ifknown)
                   First Name        Middle Name             Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    Sl No
    Q Yes. Givespecific              Issuer name:
        information about
        them.




21. Retirement or pension accounts
    Examples: Interests in \RA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   1-1 No
   ^ Yes. Listeach
        account separately.          Type of account:           Institution name:

                                     401(k)orsimilarplan: CHARLES SCHWAB                                                                   2. 73

                                     Pension plan:

                                     IRA:

                                     Retirement account:


                                     Keogh:

                                     Additional account:


                                     Additional account:




22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   a No
   fl Yes.                                                 Institution name or individual:

                                     Electric:

                                     Gas:

                                     Heating oil:

                                     Securitydepositonrentalunit: AMERICANHOMES4 RENT                                                   1,495.00
                                     Prepaid rent:

                                     Telephone:

                                     Water:

                                     Rented furniture:

                                     Other:




23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   El No
   Q Yes..........................   Issuer name and description:




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 Debtor 1      JAYME           K                    FISHER
                                                                                                    Case number (ifknown)
                First Name     Middle Name         Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U. S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    S3 No
        Yes .................................... institution nameanddescription. Separatelyfiletherecordsofanyinterests.11 U. S.C.§ 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
   3 No
   Q Yes. Givespecific
        information about them....                                                                                                                               0.00

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   El No
   Q Yes. Give specific
        information about them....                                                                                                                               0.00

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   BI No
   Q Yes. Give specific
        information about them....                                                                                                                               0. 00

Money or property owed to you?                                                                                                                Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

28.Tax refunds owed to you
   21 No
   1-1 Yes. Give specificinformation                                                                                   Federal:               $
             about them, including whether
             you already filed the returns                                                                             State:                 $
             and the tax years.
                                                                                                                       Local:                 $



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   21 No
   1-1 Yes. Give specific information.
                                                                                                                   Alimony:
                                                                                                                   Maintenance:

                                                                                                                   Support:
                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   a No
   Q Yes. Give specific information.
                                                                                                                                                                  0. 00


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                                                         DocSchedule
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                  JAYME                  K                            FISHER
 Debtor 1                                                                                                                                  Case number (a-knomi;
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance;health savings account (HSA);credit, homeowner's, or renter's insurance
   a No
   a Yes.Name e insurance company                                    company name:                                                             Beneficiary:                                      Surrender or refund value:
                 of each policy and list its value....
                                                                      FARMERS                                                                   DAVIDWILLIAMSAND                                 $                   0. 00
                                                                      PROTECTIVELIFE                                                            COPY PITRAT                                      $                   0. 00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiaryof a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   Q No
   Q Yes. Give specific information.
                                                                                                                                                                                                                     0. 00

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   a No
   Q Yes. Describeeachclaim.
                                                                                                                                                                                                                      0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   Q No
   Q Yes. Describeeach claim.
                                                                                                                                                                                                                     0. 00


35.Any financial assets you did not already list
   a No
   Q Yes. Give specific information.                                                                                                                                                                                 0. 00


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Writethat number here .................................................................................................................................................... "^                    1,565.56



Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37 Do you own or have any legal or equitable interest in any business-related property?
   Q No. Goto Part6.
   E3 Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38.Accounts receivable or commissions you already earned
   a No

   a Yes.Describe.......                                                                                                                                                                       ^               ^
39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   a No
   a Yes.Describe.......COMPUTER, COMPUTERMONITORS,PRINTER,SMARTPHONE,SHREDDEF                                                                                                                                     650. 00


                 Case 2:21-bk-01666-PS
Official Form 106A/B
                                                                             DocSchedule
                                                                                 11 Filed      03/09/21 Entered 03/10/21 09:46:53
                                                                                         A/B: Property
                                                                                                                                                                                                      Desc
                                                                                                                                                                                                         pageS
                                                                             Main Document            Page 10 of 52
 Debtor 1       JAYME         K                  FISHER                                    Case number (ifknown)
                 First Name   Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   13 No
   Q Yes. Describe.......                                                                                                                            0.00


41. Inventory
   a No
   Q Yes. Describe.......                                                                                                                            0. 00


42.Interests in partnerships or joint ventures
   efNo
   [3 Yes. Describe....... Nameofentity:                                                                    % of ownership:
                                                                                                                   -% $
                                                                                                                   .
                                                                                                                    % $
                                                                                                                   _% $

43.Customer lists, mailing lists, or other compilations
   a No
   Q Yes. Do your lists include personally identifiable information (as defined in 11 U. S. C. § 101(41A))?
          Q No
            Q Yes. Describe........
                                                                                                                                                     0. 00

44.AW business-related property you did not already list
     No
   F-i Yes. Give specific
                                                                                                                               $
       information
                                                                                                                               $

                                                                                                                               $

                                                                                                                               $

                                                                                                                               $

                                                                                                                               $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                   650. 00
   for Part 5. Write that number here




Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   Sf No. Go to Part 7.
   Q Yes. Go to line 47
                                                                                                                              Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   l-l No
   a Yes.




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Official Form 106A/B
                                                       DocSchedule
                                                           11 Filed      03/09/21 Entered 03/10/21 09:46:53
                                                                   A/B: Property
                                                                                                                                     Desc
                                                                                                                                        page 9
                                                       Main Document            Page 11 of 52
 Debtor 1     JAYME            K                       FISHER                                   Case number wknown}
               First Name     Middle Name          Last Name




48.Crops-either growing or harvested
   Q No
   Q Yes, Give specific
       information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   a No
   a Yes.


50. Farm and fishing supplies, chemicals, and feed
   Q No
   a Yes..


51. Any farm- and commercial fishing-related property you did not already list
   a No
   Q Yes. Give specific
       information.


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                          0. 00
   for Part 6. Write that number here




Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
   Examples: Season tickets, country club membership

   3 No
   Q Yes. Give specific
       information.




54. Add the dollar value of all of your entries from Part 7. Write that number here
                                                                                                                                       0. 00



Part 8:      List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                  ..» $          0. 00

56.Part 2: Total vehicles, line 5                                                3, 053.00

57.Part 3: Total personal and household items, line 15                           2,305.00

58.Part 4: Total financial assets, line 36                             $         1,565.56

59. Part 5: Total business-related property, line 45                   $              650. 00

60. Part 6: Total farm- and fishing-related property, line 52          $                0. 00

61. Part 7: Total other property not listed, line 54                 +$                 0.00

62.Total personal property. Add lines 56 through 61.                             7, 573. 56 copypersonalpropertytotal .> +$       7, 573.56


63. Total of all property on Schedule A/B. Add line 55 + line 62.                                                         $      7,573.56


             Case 2:21-bk-01666-PS
Official Form 106A/B
                                                          DocSchedule
                                                              11 Filed      03/09/21 Entered 03/10/21 09:46:53
                                                                      A/B: Property
                                                                                                                              Desc
                                                                                                                                 page 10
                                                          Main Document            Page 12 of 52
 Fill in this information to identify your case:

  Debtor 1           JAYME                             K                         FISHER
                      First Name                       Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                       Middle Name


  United States Bankruptcy Courtfor the: DISTRICTOFARIZONA

  Case number                                                                                                                                               Q Check if this is an
  (If known)
                                                                                                                                                                 amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                              04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:          Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      21 You are claiming state and federal nonbankruptay exemptions. 1 1 U. S. C. § 522(b)(3)
      Q You are claiming federal exemptions. 11 U. S. C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on                 Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/Bthat lists this property                          portion you own
                                                                     Copy the value from         Check only one box for each exemption.
                                                                      Schedule A/B

      Brief                                                                                                                               Ariz. Rev. Slat. §33-1125 (8)
                               AUTOMOBILE FAIR CONDITION                             3,053. 00   Q$           3,053. 00
      description:
      Line from
                                                                                                 1-1 100% of fair market value, up to
      Schedule A/B: ^2                                                                              any applicable statutory limit


      Brief                                                                                                                               Ariz. Hev. Stat. 33-1123
                                   HOUSEHOLDBED, BEDDING,CHAIRS                      1,000. 00   [3 $         1,000. 00
                 [ion:

      Line from 6
                                                                                                 Q 100% of fair market value, up to
      Schedule A/B:                                                                                 any applicable statutory limit

      Brief                                                                                                                               Ariz. Rev. Stat. 33-1123
                                   ELECTRONICSCOMPUTER,MUSIC P                        450. 00    [3 $           450. 00
      description:                 --.. -... ---... -. -..,
      Line from
                                                                                                 Q 100%offairmarketvalue, upto
      Schedule A/B: L.                                                                              any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170, 350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      21 No
      Q Yes. Didyouacquirethepropertycoveredbytheexemptionwithin1,215daysbeforeyoufiledthiscase?
           1-1 No
           a Yes

            Case
Official Form106C            2:21-bk-01666-PS                        Doc  11 C:Filed
                                                                      Schedule       03/09/21
                                                                               The Property         Entered
                                                                                            You Claim as Exempt03/10/21 09:46:53                                  Desc
                                                                                                                                                                    page 1 of _
                                                                     Main Document          Page 13 of 52
              JAYME          K                  FISHER
Debtor 1                                                                                           Case number (.ifknowni
                             Middle Name        Last Name




  Part 2:     Additional Page

       Brief description of the property and line        Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
       on Schedule A/B that lists this property          portion you own

                                                         Copythe value from         Check only one box for each exemption
                                                         Schedule A/B

      Brief
      description:     CLOTHESALLCLOTHESANDFOOTW $                        350.00    [3 $       350.00                       Ariz.Rev.Stat.§ 33-1125(1)
      Line from        11                                                           Q 100% affair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit

      Brief            PERSONALANIMALSCATS
      description:
                                                                            5.00    13$           5.00                      Ariz. Rev. Stat.§33-1125(11)
      Line from                                                                     Q 100% offair market value, up to
      Schedule A/B:
                       13                                                              any applicable statutory limit


      Brief            CHECKINGACCOUNTWELLSFARGO
     description:
                                                                           45.00    g[^             45-00                   Ariz.Rev.Stat. § 33-1126(A)(9)
      Line from                                                                     Q 100% offair market value, up to
                       17
      Schedule A/B:                                                                    any applicable statutory limit

     Brief             RETIREMENT401K CHARLESSCHVW                          2.73
     description:
                                                                                    |^^           2.73                      11 U.S.C.§ 522(b)(3)(C)
     Line from         21. re1                                                      Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief             DEPOSITAMERICANHOMES4 RENT
     description:
                                                                        1. 4S5.00
                                                                                    gljp     1,495.00                       Ariz. Rev. Stat. § 33-1126(0)

     Line from                                                                      Q 100%affairmarketvalue,upto
     Schedule A/B:
                       22                                                              any applicable statutory limit       Ariz. Rev. Stat. § 33-1321 (A)


     Brief             OFFICE EQUIPMENT COMPUTER. CO                     650.00     R( a.          650.00                   Ari2. Rev. Stat. §33-1130(1)
     description:
     Line from         39
                                                                                    Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:                                                                   a$
     Line from                                                                      1-1 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:
     Line from                                                                      Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit


     Brief
     description:                                                                   a$
     Line from                                                                      Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:                                                                   as
     Line from                                                                      Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit

     Brief
     description:                                                                   a$
     Line from                                                                      Q 100%offairmarketvalue,upto
     Schedule A/B:                                                                     any applicable statutory limit


     Brief
     description:                                                                   a$
     Line from                                                                      Q 100% affair market value, up to
     Schedule A/B:                                                                     any applicable statutory limit


Official FormCase
              106C    2:21-bk-01666-PS                Doc 11 Filed 03/09/21 Entered 03/10/21 09:46:53
                                                     Schedule C: The Property You Claim as Exempt
                                                                                                                                                      Desc
                                                                                                                                                        page 2
                                                      Main Document    Page 14 of 52
 Fill in this information to identify your case:

 Debtor1             JAYME                       K                           FISHER
                     First Name                  Middle Name                 Last Name


 Debtor 2
 (Spouse, if filing) First Name                  Middle Name                 Last Name



 United States Bankruptcy Court for the:
                                             DISTRICTOFARIZONA

 Case number
  (If known)                                                                                                                                           a Check if this is an
                                                                                                                                                          amended filing

 Official Form 106D
 Schedule D: Creditors                                           ho Have Claims Secured by Property                                                                      12/15
 Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      Q No. Checkthis boxand submitthisform tothe court with yourotherschedules. You have nothing elseto report on thisform.
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                         Column A              Column B              Column C
2. List all secured claims. Ifa creditor has more than one secured claim, list the creditor separately Amount ofclaim                          Value of collateral   Unsecured
      foreachclaim. Ifmorethanonecreditorhasa particularclaim,listtheothercreditorsinPart2.                              pg^ ^^ ^              thatsupportsthis porti'on
      As much as possible, list the claims in alphabetical order according to the creditor's name.                       value'ofcolTateraT.   claim

       FORD MOTOR CREDIT COMP Describe theproperty that secures theclaim:                                                $22447. 00 $26464. 00$                            0. 00
      Creditor's Name

      'PO BOX BOX 542000                                  AUTOMOBILE EXPLORER FORD
      Number            Street

                                                          As of the date you file, the claim is: Check all that apply
                                                          D Contingent
       OMAHA                         NE       68154 Q Unliquidated
      City                          State   ZIPCode       D Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  Q Debtor1 only                                          S? Anagreement you made (such as mortgage orsecured
  Q Debtor 2 only                                              car loan)
  1-1 Debtor1 andDebtor2 only                             LI Statutorylien(suchastaxlien, mechanic'slien)
  El At least one of the debtors and another              Q Judgment lien from a lawsuit
                                                          D Other(includinga righttooffset)
  Q Check ifthis claim relatesto a
        community debt
  Date debt was incurred                                  Last 4 digits of account number
2.2
                                                          Describe the property that secures the claim:
      Creditor's Name



      Number            Street

                                                          As of the date you file, the claim is: Check all that apply.
                                                          a Contingent
                                                          Q Unliquidated
      City                          State   ZIPCode       Q Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  Q Debtor1 only                                          Q An agreement you made (such as mortgage or secured
  1-1 Debtor2 only                                             car loan)
  Q Debtor 1 and Debtor 2 only                            Q Statutorylien(suchastaxlien,mechanic'slien)
  Q At leastoneofthe debtorsandanother                    Q Judgmentlienfroma lawsuit
                                                          Q Other (including a rightto offset)
  a Check if this claim relates to a
        community debt
  Date debt was incurred                                  Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    22. 44. 7-n0

                   Case 2:21-bk-01666-PS                        Doc 11          Filed 03/09/21              Entered 03/10/21 09:46:53                       Desc
                                                  Schedule D:Main                                                                                               page 1
Official Form 106D                                                  Document
                                                              Creditors               Page
                                                                        Who Have Claims      15byofProperty
                                                                                        Secured      52
      Fill in this information to identify your case:

      Debtor1            JAYME                       K                        FISHER
                          First Name                 Middle Name               Last Name

      Debtor 2
      (Spouse, if filing) First Name                 Middle Name               Last Name


                                                  DISTRICT OF ARIZONA
      United States Bankruptcy Court for the:
                                                                                                                                                       1-1 Check if this is an
      Case number
      (If known)                                                                                                                                          amended filing


 Official Form 106E/F
 Schedule E/F: Creditors                                             ho Have Unsecured Claims                                                                            12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1:           List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
         1-1 No. Go to Part 2.
         El Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1 . If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                         Total claim      Priority       Nonpriority
                                                                                                                                                      amount         amount
2.1
            ARIZONADEPARTMENTOF REVENUE                               Last 4 digits of account number    UNKNpVVN_                $   1 356. 00   $   1, 356.   00         0. 00
           Priority Creditor's Name
            1600WESTMONROESTREET                                     Whenwasthedebtincurred?              2019
           Number            Street

                                                                     As of the date you file, the claim is: Checkall that apply
           PHOENIX                          AZ             85007
           City                           State      ZIPCode
                                                                      Q Contingent
                                                                      Q Unliquidated
          Who incurred the debt? Check one.
                                                                      Q Disputed
           B Debtor 1 only
           Q Debtor 2 only                                           Type of PRIORITYunsecured claim:
           1-1 Debtor1 andDebtor2 only                                Q Domesticsupportobligations
           Q At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
           1-1 Check if this claim is for a community debt            D Claims fordeath or personal injury while you were
                                                                          intoxicated
           Is the claim subject to offset?
           Bi No                                                      Q Other. Specify
           a Yes
2.2
                                                                      Last 4 digits of account number _        _    _    _        $        $
          Priority Creditor's Name
                                                                     When was the debt incurred?
          Number             Street
                                                                     As of the date you file, the claim is: Checkall that apply
                                                                      Q Contingent
          City                            State      ZIPCode          Q Unliquidated
          Who incurred the debt? Check one.                           1-1 Disputed
           Q Debtor1 only
                                                                     Type of PRIORITTunsecured claim:
           Q Debtor 2 only
                                                                      Q Domestic support obligations
           Q Debtor 1 and Debtor 2 only
           LI At least one ofthe debtors and another
                                                                      Q Taxes and certain other debts you owe the government
                                                                      Q Claimsfordeathor personal injurywhileyouwere
           L-l Check if this claim is for a community debt                intoxicated

          Is the claim subject to offset?                             1-1 Other. Specify
           Q No
           a Yes
                    Case 2:21-bk-01666-PS                          Doc 11 Filed 03/09/21 Entered 03/10/21 09:46:53                                         Desc
 Official Form 106E/F                                              Main Document    Page 16 of 52
                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                   JAYME              K                 FISHER
  Debtor 1                                                                                             Case number (if known)
                   First Name         Middle Name       Last Name



   Part 2:       List All of Your NONPRIORITY Unsecured Claims

   3. Do any creditors have nonpriority unsecured claims against you?
       Q No.Youhavenothingto reportinthispart. Submitthisformtothecourtwithyourotherschedules.
       13 Yes
   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                          Total claim

E       CAVALRY PORTFOLIO SERV                                                    Last4 digits ofaccount number 6148
        Nonpriority Creditor's Name                                                                                                                      $ 2589. 00
        4050 E COTTON CENTER BLV
                                                                                 Whenwasthe debt incurred?                7/25/1 9
        Number          Street

        PHOENIX                                      AZ              85040
        City                                         State          ZIP Code     As of the date you file, the claim is: Checkall that apply.

                                                                                  1-1 Contingent
        Who incurred the debt? Check one.                                         Q Unliquidated
        62 Debtor1 only                                                           Q Disputed
        Q Debtor 2 only
        Q Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
        1-1 At least one ofthe debtors and another                                D Student loans
        LI Check if this claim is for a community debt                            Q Obligationsarisingoutofa separationagreementordivorce
                                                                                      that you did not report as priority claims
        Is the claim subject to offset?                                           Q Debts to pension or profit-sharing plans, and other similar debts
        £3 No                                                                    ^ Other.Specify COLLECTION
        LI Yes

4. 2    DEPT OF ED/NAVIENT                                                       Last4 digits ofaccount number 0517                                        ~5~4"6TO~(T
        Nonpriority Creditor's Name                                              When was the debt incurred?
        PO BOX9635
        Number          Street

        WILKESBARRE                                  PA              18773       As of the date you file, the claim is: Check all that apply.
        City                                         State          ZIPCode       Q Contingent
       Who incurred the debt? Check one.                                          D Unliquidated
        E3 Debtor1 only                                                           1-1 Disputed
        1-1 Debtor2 only
                                                                                 Type of NONPRIORITYunsecured claim:
        Q Debtor 1 and Debtor 2 only
        D At leastoneofthedebtorsandanother                                      Of Studentloans
                                                                                  D Obligations arising out ofa separation agreement or divorce
        Q Check if this claim is for a community debt                                 that you did not report as priority claims
        Is the claim subject to offset?                                           LI Debts to pension or profit-sharing plans, and other similar debts
        S3 No                                                                     Q Other. Specify
        a Yes
4.3     DEPTOFED/NAVIENT                                                         Last 4 digits of account number 0222
        Nonpriority Creditor's Name
                                                                                                                                                         $ 7. 398. 00
                                                                                 Whenwasthe debt incurred?                 2/22/1 0
        PO BOX9635
        Number          Street

        WILKESBARRE                                   PA             18773
                                                                                 As of the date you file, the claim is: Check all that apply.
       City                                          State          ZIPCode
                                                                                  Q Contingent
       Who incurred the debt? Check one.
                                                                                  Q Unliquidated
        Of Debtor1 only                                                           Q Disputed
       a Debtor 2 only
       Q Debtor 1 and Debtor 2 only                                              Type of NONPRIORITYunsecured claim:
        D At least one of the debtors and another
                                                                                  1^ Studentloans
        Q Check if this claim is for a community debt                             Q Obligations arising out ofa separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  LI Debtsto pensionor profit-sharingplans, andothersimilardebts
        Of No
                                                                                  1-1 Other. Specify
        a Yes

                 Case 2:21-bk-01666-PS                        Doc 11 Filed 03/09/21 Entered 03/10/21 09:46:53                                            Desc
                                                                                                                                                          page 3
Official Form 106E/F                                          Main Document    Page 17 of 52
                                                           Schedule E/F: Creditors Who Have Unsecured Claims
                   JAYME              K                   FISHER
  Debtor 1                                                                                              Case number vfknowni
                   First Name         Middle Name       Last Name




  Part 2:        Your NONPRIORITVUnsecured Claims - Continuation Page


  After listing any entries on this page, numberthem beginningwith 4.4, followed by 4.5, and so forth.                                                           Total claim


 4.4
        DEPTOF ED/NAVIENT                                                            Last4 digitsofaccountnumber 0517                                        $10,343.00
        Nonpriority Creditor's Name
        PO BOX9635
                                                                                     Whenwasthedebtincurred?                   5/1 7/1 0
        Number          Street
                                                                                     As of the date you file, the claim is: Checkall that apply.
        WILKESBARRE                                  PA              18773
        City                                        State           ZIPCode          Q Contingent
                                                                                     Q Unliquidated
        Who incurred the debt? Check one.
                                                                                     a Disputed
        0 Debtor 1 only
        Q Debtor2 only                                                               Type of NONPRIORITYunsecured claim:
        1-1 Debtor 1 and Debtor 2 only                                               01 Student loans
        Q At least one ofthe debtors and another
                                                                                     a Obligationsarisingoutofa separationagreementordivorcethat
                                                                                         you did not report as priority claims
        Q Checkifthisclaim isfor a communitydebt
                                                                                     Q Debtsto pensionorprofit-sharingplans,andothersimilardebts
        Is the claim subject to offset?                                              Q Other. Specify
        Bi No
        a Yes


4.5
        DEPTOF ED/NAVIENT                                                            Last4 digits of account number 1002                                     $ 10,928.00
       Nonpriority Creditor's Name

        PO BOX9635
                                                                                     Whenwasthedebt incurred?                1 0/2/09
       Number           Street

        WILKESBARRE                                  PA
                                                                                     As of the date you file, the claim is: Check all that apply.
                                                                     18773
       City                                         State           ZIPCode          d Contingent
                                                                                     Q Unliquidated
       Who incurred the debt? Check one.
                                                                                     LI Disputed
       3 Debtor 1 only
       Q Debtor 2 only                                                               Type ofNONPRIORITV unsecured claim:
       1-1 Debtor1 andDebtor2 only                                                       Student loans
       D At least one of the debtors and another
                                                                                     Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                         you did not report as priority claims
       D Checkifthisclaim isfor a communitydebt
                                                                                     1-1 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                               D Other. Specify
       ei No
       a Yes

4.6
                                                                                                                                                             $ 21, 326. 00
        DEPT OF ED/NAVIENT                                                           Last4 digits of account number 1002
       Nonpriority Creditor's Name
        PO BOX9635
                                                                                     Whenwasthedebtincurred?                 1 0/2/09
       Number          Street
        WILKES BARRE                                 PA              18773           As of the date you file, the claim is: Check all that apply.
       City                                         State           ZIPCode          D Contingent
                                                                                     1-1 Unliquidated
       Who incurred the debt? Check one.
                                                                                     1-1 Disputed
       3 Debtor 1 only
       LI Debtor 2 only                                                              Type of NONPRIORITYunsecured claim:
       d Debtor1 andDebtor2 only                                                     53 Student loans
       Q At leastoneofthedebtorsandanother
                                                                                     1-1 Obligationsarisingoutofa separationagreementordivorcethat
                                                                                         you did not report as priority claims
       1-1 Checkifthis claim isfora communitydebt
                                                                                     Q Debts to pension or profit-sharing plans, and othersimilar debts
       Is the claim subject to offset?                                               Q Other. Specify
       ^ No
       a Yes



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                  JAYME             K                 FISHER
 Debtor 1                                                                                            Case number (ffknown)
                 First Name         Middle Name       Last Name




  Part 2:       Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4. 4, followed by 4. 5, and so forth.                                                   Total claim


4.7
       DEPTOF ED/NAVIENT                                                          Last4 digitsofaccountnumber 1 002                                      $ 59, 473. 001
       Nonprionty Creditor's Name
       PO BOX 9635
                                                                                  Whenwasthedebtincurred?                 1 0/2/09
       Number          Street
                                                                                  As of the date you file, the claim is: Checkall that apply
       WILKESBARRE                                  PA             18773
       City                                        State          ZIP Code        D Contingent
                                                                                  LI Unliquidated
      Who incurred the debt? Check one.
                                                                                  Q Disputed
       0 Debtor 1 only
       Q Debtor2 only                                                             Type of NONPRIORITYunsecured claim:
       D Debtor 1 and Debtor 2 only                                               62 Studentloans
       D At least one of the debtors and another
                                                                                  Q Obligations arising out ofa separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Checkifthis claim isfor a communitydebt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             1-1 Other. Specify
       ^ No
       a Yes


4.8
       DEPTOF ED/NAVIENT                                                          Last4 digits of account number 0824                                    $ 63,759.00
      Nonpriority Creditor's Name
                                                                                  Whenwasthe debtincurred?                8/24/1 2
       PO BOX 9635
      Number          Street
                                                                                  As of the date you file, the claim is: Checkall thatapply.
       WILKESBARRE                                  PA              18773
      City                                         State          ZIPCode         d Contingent
                                                                                  1-1 Unliquidated
      Who incurred the debt? Check one.                                           a Disputed
      Q Debtor 1 only
      Q Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      Q Debtor1 andDebtor2 only                                                       Student loans
      Q At least one of the debtors and another
                                                                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      1-1 Checkifthis claim isfor a communitydebt
                                                                                  Q Debtstopensionorprofit-sharingplans,andothersimilardebts
      Is the claim subject to offset?                                             Q Other. Specify
      6l No
      a Yes

4.9                                                                                                                                                      $ 5, 772. 00
       ELAN FINANCIAL SERVICE                                                     Last4 digitsofaccountnumber 3932
      Nonpriority Creu.ior's Name
       PO BOX 790084
                                                                                  Whenwasthe debtincurred?               4/1/15
      Number          Street
       SAINTLOUIS                                   MO             63179
                                                                                  As of the date you file, the claim is: Check all that apply.
      City                                         State          ZIP Code        D Contingent
                                                                                  a Unliquidated
      Who incurred the debt? Check one.
                                                                                  Q Disputed
      tZI Debtor 1 only
      Q Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      1-1 Debtor1 andDebtor2 only                                                 D Student loans
      Q At leastoneofthe debtorsandanother
                                                                                  Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                      you did not report as priority claims
      Q Check if this claim is for a community debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             3 Other.SpecifyCREDITCARD
      ^ No
      a Yes



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                     JAYME             K                  FISHER
  Debtor 1                                                                                                Case number (ifknown)
                                       Middle Name        Lasl Name



   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4. 4, followed by 4. 5, and so forth.                                                        Total claim



 4. 10
                                                                                       Last4 digits ofaccount number 8644                                     $ 3, 754.00
         Nonpriority Creditor's Name
          PO BOX 15298
                                                                                       Whenwasthedebtincurred?                    2/22/1 7
         Number          Street
                                                                                       As of the date you file, the claim is: Checkall thatapply.
         WILMINGTON                                    DE               19850
         City                                         Slate           ZIP Code         Q Contingent
                                                                                       1-1 Unliquidated
         Who incurred the debt? Check one.
                                                                                       1-1 Disputed
         Q Debtor 1 only
         Q Debtor2 only                                                                Type of NONPRIORITy unsecured claim:
         [-I Debtor 1 and Debtor 2 only                                                1-1 Student loans
         Q At least one of the debtors and another
                                                                                       Q Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         Q Check if this claim is for a community debt
                                                                                       Q Debtsto pensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                               a Other.Specify CREDITCARD
         ^ No
         a Yes



          KOHLS/CAPONE                                                                 Last4 digits ofaccount number 6589                                     $1, 773. 00
         Nonpriority Creditor's Name
                                                                                       Whenwasthedebtincurred?                 3/5/1 0
          N56 RIDGEWOODDR
         Number          Street

          MENOMONEEFAL                                 Wl               53051
                                                                                       As of the date you file, the claim is: Check all that apply.
         City                                         State           ZIP Code         Q Contingent
                                                                                       1-1 Unliquidated
         Who incurred the debt? Check one.
                                                                                       LI Disputed
         3 Debtor1 only
         D Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
         1-1 Debtor 1 and Debtor 2 only                                                D Student loans
         LI At least one of the debtors and another
                                                                                       Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                           you did not report as priority claims
         1-1 Checkifthisclaimisfora communitydebt
                                                                                       Q Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               a Other.Specify CREDITCARD
         2i No
         a yes
4. 12
                                                                                                                                                              $ 2, 206.00
         MACYS/DSNB                                                                    Last4 digits ofaccount number 2611
         Nonpriority Creditor's Name
         9111 DUKEBLVD
                                                                                       Whenwasthedebtincurred?                 1 2/1 7/1 5
         Number          Street
         MASON                                         OH              45040           As of the date you file, the claim is: Checkall that apply.
         City                                         State           ZIP Code         Q Contingent
                                                                                       a Unliquidated
         Who incurred the debt? Check one.
                                                                                       1-1 Disputed
         Q Debtor 1 only
         1-1 Debtor2 only                                                              Type of NONPRIORITYunsecured claim:
         Q Debtor 1 and Debtor 2 only                                                  Q Student loans
         D At leastoneofthe debtorsandanother
                                                                                       Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                           you did not report as priority claims
         1-1 Checkifthisclaim isfor a communitydebt
                                                                                       Q Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               0 Other.SpecifyCREDIT CARD
         ei No
         a Yes



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                   JAYME              K                   FISHER
 Debtor 1                                                                                               Case number (ifknown)
                   First Name         Middle Name         Last Name



  Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, numberthem beginningwith 4.4, followed by4. 5, and so forth.                                                           Total claim



4. 13
        MEDICALPAYMENTDATA                                                           Last4 digits of account number 8996                                     $ 341. 00'
        Nonpriority Creditoi's Name
                                                                                     When was the debt incurred?
        32G E CORONADORD
        Number          Street
                                                                                     As of the date you file, the claim is: Checkall thatapply.
         PHOENIX                                     AZ                85004
        City                                        State             ZIPCode        1-1 Contingent
                                                                                     1-1 Unliquidated
        Who incurred the debt? Check one.                                            Q Disputed
        Q Debtor1 only
        Q Debtor 2 only                                                              Type of NONPRIORITYunsecured claim:
        Q Debtor 1 and Debtor 2 only                                                 [-1 Student loans
        Q At least one of the debtors and another
                                                                                     Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                         you did not report as priority claims
        Q Check if this claim is for a community debt
                                                                                     Q Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              a Other.Specify COLLECTION
        ^ No
        a Yes

4. 14
         MIDLANDCREDITMANAGEM                                                        Last4 digitsofaccountnumber 0672                                        $5, 210. 00
        Nonpriority Creditor's Name
                                                                                     Whenwasthedebtincurred?                 8/26/1
        320 E BIG BEAVERRD STE
        Number          Street
                                                                                     As of the date you file, the claim is: Checkall thatapply.
        TROY                                         Ml                48083
        City                                        State             ZIPCode        Q Contingent
                                                                                     Q Unliquidated
        Who incurred the debt? Check one.
                                                                                     d Disputed
        t3 Debtor 1 only
        Q Debtor2 only                                                               Type of NONPRIORITy unsecured claim:
        D Debtor 1 and Debtor 2 only                                                 Q Student loans
        Q At least one of the debtors and another
                                                                                     Q Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
        Q Checkifthis claim isfora communitydebt
                                                                                     Q Debtsto pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              3 Other.SpecifyOTHER                        fTCftftA
        Si No
        a Yes

4. 15                                                                                                                                                        $ 5, 478. 00
        MIDLANDCREDITMANAGEM                                                         Last 4 digits of account number
        Nonpriority Cieuiior's Name
        320 E BIG BEAVERRDSTE
                                                                                     Whenwasthedebtincurred?                 1 2/20/1 9
        Number          Street
        TROY                                         Ml                48083         As of the date you file, the claim is: Check all that apply.

        City                                        State             ZIP Code       Q Contingent
                                                                                     Q Unliquidated
        Who incurred the debt? Check one.
                                                                                     1-1 Disputed
        t2 Debtor 1 only
        1-1 Debtor2 only                                                             Type of NONPRIORITyunsecured claim:
        Q Debtor 1 and Debtor 2 only                                                 Q Student loans
        Q At leastoneofthe debtorsandanother
                                                                                     [-1 Obligations arising out ofa separation agreement or divorce that
                                                                                         you did not report as priority claims
        1-1 Checkifthisclaim is for a communitydebt
                                                                                     LI Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              0 Other.SpecifyOTHER CctLt-^IT"CAAC^
        2] No
        a Yes



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                     JAYME             K                    FISHER
  Debtor 1                                                                                               Case number (tfknown)
                    First Name         Middle Name          LastName



   Part 2:        Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, numberthem beginningwith 4.4, followed by 4.5, and so forth.                                                            Total claim



 4. 16
                                                                                       Last4 digits ofaccount number 0035                                     $6, 061.00
         Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
          320 E BIG BEAVERRD STE
         Number          Street

          TROY
                                                                                       As of the date you file, the claim is: Check all that apply.
                                                       Ml               48083
         City                                         State            ZIPCode         Q Contingent
                                                                                       Q Unliquidated
         Who incurred the debt? Check one.                                             D Disputed
         Q Debtor 1 only
         Q Debtor 2 only                                                               Type of NONPRIORITyunsecured claim:
         Q Debtor1 andDebtor2 only                                                     Q Studentloans
         Q At leastoneofthe debtorsandanother
                                                                                       D Obligations arising out ofa separation agreement or divorce that
                                                                                           you did not report as priority claims
         1-1 Checkifthisclaim isfora communitydebt
                                                                                       Q Debtsto pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               0 Other.Specify OTHER                       |TtP«fa
         ^ No
         a Yes


4. 17
          MIDLANDCREDITMANAGEM                                                         Last4 digitsofaccountnumber 6450                                       $7, 368. 00
         Nonpriority Creditor's Name
                                                                                       Whenwasthedebtincurred?                 1 2/20/1 9
         320 E BIG BEAVER RD STE
         Number          Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          TROY                                         Ml               48083
         City                                         State            ZIPCode         LI Contingent
                                                                                       Q Unliquidated
         Who incurred the debt? Check one.                                             Q Disputed
         Q Debtor 1 only
         D Debtor 2 only                                                               Type of NONPRIORITYunsecured claim:
         Q Debtor 1 and Debtor 2 only                                                  D Studentloans
         1-1 At leastoneofthedebtorsandanother
                                                                                       Q Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
         Q Check ifthis claim is for a community debt
                                                                                       Q Debtstopensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                               a Other.Specify OTHER                CC.&6QIT
         ^ No
         a Yes

4. 18
                                                                                                                                                              $ 7, 557. 00
         MIDLAND CREDIT MANAGEM                                                        Last 4 digits of account number
         Nonpriority Creditor's Name
         320 E BIG BEAVERRD STE
                                                                                       Whenwasthedebtincurred?                 1 2/20/1 9
         Number          Street
                                                                                       As of the date you file, the claim is: Check all thatapply.
         TROY                                          Ml               48083
         City                                         State            ZIP Code        LI Contingent
                                                                                       Q Unliquidated
         Who incurred the debt? Check one.                                             Q Disputed
         t3 Debtor 1 only
         Q Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
         1-1 Debtor 1 and Debtor 2 only                                                Q Student loans
         LI At least one of the debtors and another
                                                                                       1-1 Obligationsarisingoutofa separationagreementordivorcethat
                                                                                           you did not report as priority claims
         Q Check if this claim is for a community debt
                                                                                       Q Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                               0 Other.SpecifyOTHER                fcfitAn- CAU^
         8S No
         a Yes



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                     JAYME             K                        FISHER
  Debtor 1                                                                                                  Case number i/iknown)
                     First Name        Middle Name              Last Name



   Part 2:         Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, numberthem beginningwith 4.4, followed by 4. 5, and so forth.                                                              Total claim


 4. 19
          NASAFEDERALCREDITUN                                                            Last4 digitsofaccountnumber 3257                                            $ 6, 539. 00
         Nonpriority Creditor's Name
          500 PRINCEGEORGESBLVD
                                                                                         When was the debt incurred?                 12/29/17
         Number           Street
                                                                                         As of the date you file, the claim is: Check all that apply.
          UPPER MARLBORO                                   MD                20774
         City                                             State             ZIP Cade     Q Contingent
                                                                                         Q Unliquidated
         Who incurred the debt? Check one.                                               Q Disputed
         3 Debtor1 only
         1-1 Debtor2 only                                                                Type of NONPRIORITY unsecured claim:
         Q Debtor1 andDebtor2 only                                                       D Student loans
         Q At least one ofthe debtors and another
                                                                                         LI Obligationsarisingoutofa separationagreementordivorcethat
                                                                                             you did not report as priority claims
         LI Checkifthisclaimisfora communitydebt
                                                                                         Q Debtsto pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                 3 Other.Specify CREDITCARD
         ^ No
         1-1 Yes

4.20
          NORDSTROM/TDBANK USA                                                           Last4 digits of account number 1992                                     $1, 326. 00
         Nonpriority Creditor's Name
                                                                                         Whenwasthedebtincurred?                 7/8/1 0
          13531 ECALEYAVE
         Number           Street

          ENGLEWOOD                                        CO
                                                                                         As of the date you file, the claim is: Check all that apply.
                                                                             80111
         City                                             State             ZIPCode      1-1 Contingent
                                                                                         1-1 Unliquidated
         Who incurred the debt? Check one.
                                                                                         Q Disputed
         3 Debtor 1 only
         Q Debtor 2 only                                                                 Type of NONPRIORITYunsecured claim:
         LI Debtor 1 and Debtor2 only                                                    D Student loans
         LI At least one ofthe debtors and another
                                                                                         Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                             you did not report as priority claims
         Q Checkifthisclaim is fora communitydebt
                                                                                         1-1 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                 ^ Other.SpecifyCREDITCARD
         Ei No
         a Yes

4. 21
                                           o*.                                           Last4 digitsofaccountnumber UNKNOWN
                                                                                                                                                                 $ 61. 00
         PENNCREDITCORPORATION                       LWV fut^Li                LLC.
         Nonpriority Creditor's Name                 ^ St^e. P\.,                        Whenwasthe debtincurred?                201 9
         2800COMMERCEDRIVE                           ev<-e^U< i ^c <9fi<<9i>'
         Number          Street
         HARRISBURQ                                        PA                17110
                                                                                         As of the date you file, the claim is: Check all that apply.

         City                                            State              ZIPCode      Q Contingent
                                                                                         Q Unliquidated
         Who incurred the debt? Check one.                                               1-1 Disputed
         3 Debtor 1 only
         Q Debtor 2 only                                                                 Type of NONPRIORITYunsecured claim:
         1-1 Debtor 1 and Debtor 2 only                                                  a Student loans
         Q At least one ofthe debtors and another
                                                                                         Q Obligations arising out ofa separation agreement or divorce that
                                                                                             you did not report as priority claims
         1-1 Check if this claim is for a community debt
                                                                                         Q Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                 9 Other.SpecifyCREDIT CARD
         tZlNc
         a Yes


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                     JAYME             K                FISHER
  Debtor 1                                                                                             Case number {ifknowni
                     First Name        Midde Name       Last Name




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 4. 22
          PORTFOLIORECOVERYASSOCIATES,LLC                                          Last4 digitsofaccountnumber UNKNOWN                                      631. 00!
         Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
          PO BOX 12914
         Number           Street

          NORFOLK                                    VA
                                                                                   As of the date you file, the claim is: Checkall that apply.
                                                                     23541
         City                                       State           ZIP Code       LI Contingent
                                                                                   U Unliquidated
         Who incurred the debt? Check one.                                         Q Disputed
         0 Debtor1 only
         Q Debtor 2 only                                                           Type of NONPRIORITYunsecured claim:
         Q Debtor1 andDebtor2 only                                                 a Studentloans
         1-1 At leastoneofthedebtorsandanother
                                                                                   Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                       you did not report as priority claims
         LI Checkifthis claimisfor a communitydebt
                                                                                   Q Debtsto pensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                           13 Other.Specify CREDIT CARD
         8) No
         a Yes


 4.23
          PORTFOLIORECOVERYASSOCIATES,LLC                                          Last4 digitsofaccountnumber 8020                                    ,   466. 00
         Nonpriority Creditor's Name

          120 CORPORATEBLVD
                                                                                   Whenwasthedebt incurred?                    22/20
         Number           Street

          NORFOLK                                    VA              23502
                                                                                   As of the date you file, the claim is: Check all that apply.
         City                                       State           ZIPCode        LI Contingent
                                                                                   1-1 Unliquidated
         Who incurred the debt? Check one.
                                                                                   Q Disputed
         3 Debtor 1 only
         Q Debtor 2 only                                                           Type of NONPRIORITf unsecured claim:
         1-1 Debtor1 andDebtor2 only                                               1_] Student loans
         Q At leastoneofthe debtorsandanother
                                                                                   Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                       you did not report as priority claims
         Q Checkifthisclaim isfora communitydebt
                                                                                   D Debtstopensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                           ^ Other.Specify OTHER                  ca^H-CMft
         ^ No
         a Yes

4.24
                                                                                                                                                       $ 4, 372. 00
         SYNCB/CARECREDIT                                                          Last 4 digits of account number
         Nonpriority Creditor's Name
         950 FORRER BLVD
                                                                                   Whenwasthedebtincurred? 4/1 ,09
         Number          Street
         KETTERING                                   OH              45420         As of the date you file, the claim is: Check all that apply.
         City                                       State           ZIPCode        Q Contingent
                                                                                   Q Unliquidated
         Who incurred the debt? Check one.                                         Q Disputed
         t3 Debtor1 only
         1-1 Debtor2 only                                                          Type of NONPRIORITYunsecured claim:
         1-1 Debtor1 andDebtor2 only                                               LI Student loans
         Q At leastoneofthe debtorsandanother
                                                                                   Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                       you did not report as priority claims
         Q Checkifthisclaim isfora communitydebt
                                                                                   Q Debtsto pensionorprofit-sharingplans,andothersimilardebts
         Is the claim subject to offset?                                           3 Other.SpecifyCREDITCARD
         ^ No
         a Yes



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                    JAYME              K                   FISHER
  Debtor 1                                                                                               Case number w known)
                    Flret Name         Middle Name       Last Name



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 4.25
         SECONDROUNDSUB, LLC                                                          Last4 digits of account number UNKNOWN                                      2, 953. 98
        Non priority Creditor's Name
                                                                                      When was the debt incurred?
         9320 E. RAINTREEDR.
        Number           Street
                                                                                      As of the date you file, the claim is: Check all that apply.
         SCOTTSDALE                                   AZ              85260
        City                                         State           ZIPCode          Q Contingent
                                                                                      [-1 Unliquidated
        Who incurred the debt? Check one.                                             L] Disputed
        Q Debtor 1 only
        Q Debtor 2 only                                                               Type of NONPRIORITYunsecured claim:
        LI Debtor 1 and Debtor 2 only                                                 D Student loans
        LI At least one ofthe debtors and another
                                                                                      Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                          you did not report as priority claims
        L-l Check if this claim is for a community debt
                                                                                      Q Debtstopensionorprofit-sharingplans,andothersimilardebts
        Is the claim subject to offset?                                               a Other.Specify CONSUMER GOODS                          teoffcAcfl)
        2i No                                                                                                     Coaecno^
        a Yes


4. 26
         SERENITTTMSCENTERSLLC                                                        Last4 digits of account number UNKNOWN                                     ; 240. 00
        Nonpriorily Creditor's Name
                                                                                      Whenwasthedebtincurred?                 2020
         PO BOX 15490
        Number           Street

         SCOTTSDALE                                   AZ
                                                                                      As of the date you file, the claim is: Checkall that apply.
                                                                      85267
        City                                         State           ZIPCode          Q Contingent
                                                                                      1-1 Unliquidated
        Who incurred the debt? Check one.                                             Q Disputed
        Bl Debtor 1 only
        LI Debtor 2 only                                                              Type of NONPRIORITYunsecured claim:
        Q Debtor 1 and Debtor 2 only                                                  Q Studentloans
        D At least one of the debtors and another
                                                                                      Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                          you did not report as priority claims
        Q Checkifthisclaim isfora communitydebt
                                                                                      Q Debtsto pensionorprofit-sharingplans,andothersimilardebts
        Is the claim subject to offset?                                               ^ Other.Specify MEDICAL
        S3 No
        a Yes

                                                                                                                                                             $7, 103. 00
        US BANK                                                                       Last4 digitsofaccountnumber UNKNOWN
        Nonpriority Creditor's Name
        PO BOX790408
                                                                                      Whenwasthedebtincurred? 2020
        Number          Street
        ST. LOUIS                                     MO              63179           As of the date you file, the claim is: Checkall that apply.
        City                                         State           ZIPCode          Q Contingent
                                                                                      Q Unliquidated
        Who incurred the debt? Check one.                                             LI Disputed
        B Debtor 1 only
        LI Debtor 2 only                                                              Type of NONPRIORITYunsecured claim:
        01 Debtor 1 and Debtor 2 only                                                 Q Student loans
        1-1 At least one ofthe debtors and another
                                                                                      Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                          you did not report as priority claims
        Q Checkifthisclaim is for a communitydebt
                                                                                      D Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                               0 Other.SpecifyCREDITCARD
        21 No
        [-1 Yes


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                                                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
 Debtor 1       JAYME          K                  FISHER
                                                                                            Case number wknown)
                First Name      Middle Name       Last Name




 Part 4:      Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U. S. C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim



                 6a. Domestic support obligations                              6a.                          0.00
 Total claims                                                                         $
 from Part 1
                 6b. Taxes and certain other debts you owe the
                       government                                              6b.    $                1, 356.00
                 6c. Claims for death or personal injurywhileyou were
                       intoxicated                                             6c.                          0.00
                                                                                      $

                 6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                 6d.   +$                     0.00


                 6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                       1,356.00


                                                                                      Total claim


                 6f. Student loans                                             6f.
Total claims                                                                                        178,691.00
from Part 2
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                      claims                                                   6g.                          0. 00
                 6h. Debts to pension or profit-sharing plans, and other
                      similar debts                                            6h.                          0. 00

                6i. Other. Add all other nonpriority unsecured claims.
                      Write that amount here.                                  6i.   +$              71, 800. 98


                6j. Total. Add lines 6f through 6i.                            6J.                  250,491.98




            Case 2:21-bk-01666-PS                        Doc 11        Filed 03/09/21      Entered 03/10/21 09:46:53               Desc
Official Form 106E/F                                     MainE/F:
                                                      Schedule Document          Page
                                                                  Creditors Who Have    26 ofClaims
                                                                                     Unsecured 52                                     page 14
      Fill in this information to identify your case:

      Debtor . 'AY"E                                K                       FISHER
                           First Name               Middle Mania            Last Name


      Debtor 2
      (Spouse If filing)   FbstName                 Middle Name             Last Name


                                                DISTRICT OF ARIZONA
      United States Bankruptcy Court for the:

      Case number
      (If known)                                                                                                                          1-1 Check if this is an
                                                                                                                                             amended filing


    Official Form 106G
    Schedule G: Executory Contracts and line pired Leases                                                                                              12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).


     1. Do you have any executory contracts or unexpired leases?
            Q No. Checkthis boxandfilethisform withthe courtwithyourotherschedules.You have nothingelseto reporton thisform.
            13 Yes. Fillin all oftheinformationbelowevenifthecontractsorleasesarelistedon ScheduleA/B:Property(OfficialForm 106A/B).
     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.



            Person or company with whom you have the contract or lease                          State what the contract or lease is for


    2.1

            AMERICANHOMES4 RENT                                                            RENT
             ame

            5555 E. VAN BURENAVE.
            Number           Street

             PHOENIX                       AZ              85008
            City                                State      ZIP Code

,
    2. 2,

                      ^r                                                                   ceu^o/^ -t-cA^i-e
            Name

                   0 &0/ ^>W-
            Number           Street

                    Q.OL. -TCfcA^                1L          O^T-
            City                                State      ZIP Code

,   2.3



                               tree



            City                                State      ZIP Code


    2.4

             ame



            Number           Street


            City                                State      ZIPCode


                    Case 2:21-bk-01666-PS                          Doc 11    Filed 03/09/21       Entered 03/10/21 09:46:53                   Desc
Official Form 106G                                               Main
                                                        Schedule G:     Document
                                                                    Executory Contracts andPage   27 Leases
                                                                                            Unexpired of 52                                        page 1
  Fill in this information to identify your case:

                                                      K                     FISHER
  Debtor 1          JAYME
                     First Name                       Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) Hist Name                       Middle Name           Last Name


                                                DISTRICT OF ARIZONA
  United States Bankruptcy Court for the:

  Case number
  (If known)
                                                                                                                                             1-1 Checkifthis is an
                                                                                                                                                amended filing

Official Form 106H
Schedule Hs Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
arefiling together, both are equally responsible for supplying correct information. If more space is needed, copythe Additional Page,fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      a No
      Si Yes
 2. Within the last 8 years, have you lived in a community property state or territory? [Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      Q No. Go to line 3.
      Gl Yes. Didyourspouse, formerspouse, orlegalequivalent livewithyouatthetime?                                                                        l
           a No
           S? Yes. Inwhichcommunity stateorterritory didyou live? AZ                                  Fill inthenameandcurrentaddressofthatperson.

                  MICHAELA. FISHER
                  Name of your spouse, former spouse, or legal equivalent

                  9191 EASTNITTANYDRIVE
                  Number            Street


                  SCOTTSDALE                                    AZ                      85255
                  City                                          State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. Listthe person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F(Official Form 106E/F),or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1       GORY PITRAT
         Name
                                                                                                            \S ScheduleD, line 1
          15819 NORTH4TH AVENUE                                                                             a Schedule E/F, line
         Number            Street                                                                           a Schedule G, line
          PHOENIX                                                   AZ                    85023
         City                                                       State                  ZIPCode
3.2
                                                                                                            a Schedule D, line
         Name
                                                                                                            a Schedule E/F, line
         Number            Street                                                                           a Schedule G, line

         CL                                                         State                  ZIPCode
3.3
                                                                                                            LI Schedule D, line
         Name
                                                                                                            a Schedule E/F, line.
         Number            Street                                                                           1-1 Schedule G, line

         City                                                       State                  ZIP Code
                Case 2:21-bk-01666-PS                               Doc 11 Filed 03/09/21 Entered 03/10/21 09:46:53                              Desc
Official Form 106H                                                  Main Document          Page 28 of 52
                                                                         Schedule H: Your Codebtors                                                  page 1
  Fill in this information to identify your case:


  Debtor1            -IAYME                    K                     FISHER
                     First Name               Middle Name            Last Name


  Debtor 2
  (Spouse, if filing) FirstName               Middle Name            Last Name


                                            DISTRICTOFARIZONA
  United States Bankruptcy Court for the:

  Case number                                                                                           Check if this is:
  (If known)
                                                                                                         1-1 An amended filing
                                                                                                         1-1 A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                             MM / DD/ YYYY

Schedule I:                         our ncome                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Employment


 1. Fill in your employment
    information.                                                           Debtor 1                                       Debtor2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional            Employment status                 Employed                                    Q Employed
    employers.                                                          Q Notemployed                                     Q Not employed
    Include part-time, seasonal, or
    self-employed work.
                                            Occupation                ATTORNEY
    Occupation may include student
    or homemaker, if it applies.
                                            Employer's name           SELF-EMPLOYED

                                            Employer's address
                                                                       Number     Street                                Number   Street




                                                                       City                State   ZIP Code             City                State   ZIP Code

                                            How long employed there?       6 YEARS


 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. Ifyou have nothing to report for any line, write $0 in the space. Includeyour non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1         For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.            2.
                                                                                                   $          0. 00        $

 3. Estimate and list monthly overtime pay.                                                3.   +$            0. 00    +$

 4. Calculate gross income. Add line 2 + line 3.                                           4.      $          0.00


                Case 2:21-bk-01666-PS
Official Form 1061
                                                            Doc 11Schedule
                                                                     FiledI: 03/09/21
                                                                             Your Income
                                                                                         Entered 03/10/21 09:46:53                          Desc
                                                                                                                                                    page 1
                                                            Main Document          Page 29 of 52
                    JAYME                K                          FISHER
Debtor 1                                                                                                                        Case number viknowm
                     First Name         Middle Name                Last Name



                                                                                                                            For Debtor 1              For Debtor 2 or
                                                                                                                                                      non-filin s ouse

       Copy line 4 here.                                                                                     .
                                                                                                                 ->4.                     0.00

    5. Indicate whether you have the payroll deductions below:

        5a. Tax, Medicare, and Social Security deductions                                                          5a. $                    0. 00       $

        5b. Mandatory contributions for retirement plans                                                           5b. $                   0.00         $

        5c. Voluntary contributions for retirement plans                                                           5c. $                   0.00         $

        5d. Required repayments of retirement fund loans                                                           5d. $                   0.00         $

        5e. Insurance                                                                                              5e. $                   0.00         $

        5f. Domestic support obligations                                                                           5f. $                   0.00         $

        5g. Union dues                                                                                             5g. $                   0. 00        $

        5h. Other deductions. Specify:                                                                             5h. +$                  0.00       +$
     6. Add the payroll deductions. Add lines 5a+ 5b + 5c+5d +5e+ 5f+ 5g + 5h. 6. $                                                      0.00           $

     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                               0. 00

    8. List all other income regularly received:
        8a. Net income from rental property and from operating a business,                                         8a. $ 1. 722. 25
            profession, or farm
             Attach a statement for each property and business showing gross receipts, ordinary and
             necessary business expenses, and the total monthly net income.


        Sb. Interest and dividends                                                                                                       0. 00              $

        8c. Family support payments that you, a non-filing spouse, or a dependent                                                        0. 00              $
            regularly receive
             Include alimony, spousal support, child support, maintenance, divorce settlement, and
             property settlement.

        8d. Unemployment compensation                                                                                                    0.00               $
         8e. Social Security                                                                                                             0.00               $
        8f. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance that you
              receive, such as food stamps or housing subsidies.
             Specify(Debtor 1):                       Specify (Debtor 2 or Non-Fillng Spouse):


                                                                                                                                          0. 00

        8g. Pension or retirement income                                                                                                 0. 00
        8h. Other monthly income.
             Specify (Debtor 1):                      Specify (Debtor 2 or Non-Flling Spouse):


                                                                                                                                          0. 00

    9. Add all other income. Add lines 8a +8b + 8c + 8d + 8e + 8f +8g + 8h.                                                 $      1, 722. 25

110.Calculate monthly income. Add line 7 + line 9.                                                                          $      1,722.25 +                                     1,722.25
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-flling spouse.

111 State all other regular contributions to the expenses that you list in Schedu/eJ.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
      relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

1     Specify:                                                                                                                                                       11 + $            0. 00
112. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                     12.          1, 722.25
j    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                                            Combined
    13. Do you expect an increase or decrease within the year after you file this form?                                                                                     monthly income
        a No.
        13 Yes. Explain: I AM ACTIVELY TRYING TO GET CLIENTS.
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Official Form 1061                                                             Schedule I: Your Income                                                                        page 2
                                                                         Main Document           Page 30 of 52
                                                                                  LEGACY LAW, PLLC- 2021
       2021 Expenses   January       February       March        April            May            June            July            August       September     October      November      December
Bar dues                 $505.00
CLEs
NLBM Membership        $1, 197. 00    $1, 197. 00
Accelerator              $997.00        $997.00
Wealth Counsel           $537.01        $537. 01      $537. 01
MyCase                    $52. 94        $52. 94       $52. 94
Adobe                     $14. 04        $14. 04
Office
Phone                     $78.20         $78. 20
Internet                  $55. 00        $69. 99       $69. 99
Equipment
Website
Supplies
Client Incidentals
Marketing
Networking                $75.00         $75.00
Training
Notary
MC Recorder               $30. 00        $30. 00       $30. 00
Postage
Fees                      $70. 15        $14. 15
Federal Taxes            $296. 61       $461. 89
Interest
2021 Total Expenses    $3, 907. 95    $3, 527. 22     $689. 94           $0. 00         $0. 00          $0. 00          $0. 00       $0. 00        $0. 00       $0. 00        $0.00         $0.00

2021 Gross Receipts     5, 550. 00       6084.2


2021 Net Income        $1,642. 05 $2,556.98 -$689.94                     $0.00          $0.00           $0.00           $0.00        $0. 00        $0. 00       $0. 00        $0. 00        $0.00




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                                                                                 Legacy Law, PLLC - 2020

       2020 Expenses   January       February       March         April          May         June          July             August         September       October        November       December
Bar dues                 $545. 00
CLEs                                                                 $10. 00
NLBM Membership        $1, 197. 00    $1, 197. 00    $1, 197. 00 $1, 197. 00 $1, 197. 00 $1, 197.00         $1, 197. 00      $1, 197. 00     $1, 197.00     $1, 197.00     $1, 197. 00    $1, 197.00
Accelerator                                                                                  $2,500.00        $997.00          $997. 00        $997. 00       $997. 00       $997. 00       $997. 00
Wealth Counsel           $537. 01       $537. 01      $537. 01      $537. 01      $537.01      $537. 01       $537. 01         $537. 01        $537. 01       $537. 01       $537. 01       $537. 01
Infusionsoft             $268. 42                     $268. 42
MyCase                    $52. 94        $52. 94        $63. 74       $63. 74      $63. 74      $63. 74           $61. 68       $63. 74         $63. 74        $63. 74        $63.74         $63. 74
Adobe                     $14.04         $14. 04        $14. 04       $14. 04      $14. 04      $14. 04           $14.04        $14. 04         $14. 04        $14. 04        $14. 04        $14.04
Vision Office             $52. 66        $52. 66        $52. 66      -$60. 00
Office
Phone                     $78. 00        $78. 00        $78. 00       $77. 95      $77. 96      $77. 95         $78. 10         $78. 10         $78. 09        $78. 14        $78. 14        $78. 14
Internet                  $55. 00        $55. 00        $55. 00       $55. 00      $55. 00      $55. 00         $55. 00         $55.00          $55. 00        $55. 00        $55. 00        $55. 00
Equipment                                                                                                   $1, 133. 28         $39. 06         $56. 35        $53.56                        $43. 83
Website                                                                                                                         $30. 34                       $159. 98       $168. 54
Supplies                                                $28. 30       $76. 48      $68. 57     $325. 89       $168. 81         $157. 38        $385. 97       $265. 35        $58. 07        $67. 77
Client Incidentals                       $82. 53                                               $101. 97                                                                                      $39.50
Marketing                                                                          $15. 18                                                     $390. 00     $2, 790. 00
Networking               $105. 00        $59.00       $105. 00      $105. 00       $75. 00      $75. 00           $75. 00       $75. 01         $75. 00         $75. 00       $75. 00        $75. 00
Training
Notary
MC Recorder                                                                                                   $300. 00                                                                      $180. 00
Postage                    $7. 35                                   $32.10      $26.35                                          $71. 74         $46. 20        $15. 00        $15. 00        $45.75
Fees                      $39. 00        $39. 00                  $180. 67      $78. 50                                                         $10. 00       $750. 15        $62. 00       $119.00
Federal Tax Est          $172, 89                                   $39.37                $905.26                                                                             $20. 09
Interest                 $113. 55       $117. 22        $95. 52     $98. 32   $110. 04      $88. 20             $83. 12        $104. 05          $97. 40        $98. 70      $105.64         $94. 77
2020 Total Expenses    $3, 237. 86    $2, 284. 40    $2,494. 69 $2, 426. 68 $2, 318. 39 $5, 941. 06         $4, 700. 04      $3, 419. 47     $4, 002. 80    $7, 149. 67    $3, 446. 27    $3, 607. 55

2020 Gross Receipts     4, 195. 00                      450.00      2, 644. 60    1, 855. 85 10, 952. 50    $2, 310. 00       1, 962. 50      2, 550. 00     4, 983. 50     3, 557. 50    $2, 545. 00

2020 Net Income




                                 Case 2:21-bk-01666-PS                     Doc 11 Filed 03/09/21 Entered 03/10/21 09:46:53                                       Desc
                                                                           Main Document    Page 32 of 52
   Fill in this information to identify your case:


   Debtor1 .'AYME                               K                            FISHER
                                                                                                              Check if this is:
                       First Name               Middle Name                   Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name                   Last Name
                                                                                                              LI An amended filing
                                             DISTRICTOF ARIZONA
                                                                                                              1-1 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the:                                                                       expenses as of the following date:
   Case number                                                                                                   MM / DD/ YYYY
   (If known)



  Official Form 106J
  Schedule                          :   our                    enses                                                                                        12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

  Parti:             Describe Your Household

 1. Is this a joint case?

    l3 No. Goto line2.
    Q Yes. DoesDebtor2 live in a separatehousehold?
                 Q No
                 D Yes. Debtor2 mustfile OfficialForm 106J-2, Expensesfor SeparateHouseholdofDebtor2.
 2. Do you have dependents?
                                                    No                                      Dependent'srelationshipto              Dependent's   Does dependent live
    Do not list Debtor 1 and                  d Yes. Fill out this informationfor Debtor1 or Debtor 2                                            with you?
    Debtor 2.                                       each dependent.......................... -
                                                                                                                                                 a No
    Do not state the dependents'
    names.                                                                                                                                       a Yes
                                                                                                                                                 Q No
                                                                                                                                                 a Yes
                                                                                                                                                 Q No
                                                                                                                                                 a Yes
                                                                                                                                                 1-1 No
                                                                                                                                                 a Yes
                                                                                                                                                 a No
                                                                                                                                                 a Yes
 3. Do your expenses include                  13 No
    expenses of people other than
    yourself and your dependents?             a Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061. )                                               Your expenses
  4. The rental or home ownership expenses for your residence. Includefirst mortgage payments and
                                                                                                                                                      956.96
     any rent for the ground or lot.                                                                                         4.
     If not included in line 4:

     4a.     Real estate taxes                                                                                               4a.                        0.00
     4b.     Property, homeowner's, or renter's insurance                                                                    4b.                        0.00
     4c.     Home maintenance, repair, and upkeep expenses                                                                   4c.                        0.00
     4d.     Homeowner's association or condominium dues                                                                     4d.                        0. 00

                 Case 2:21-bk-01666-PS
Official Form 106J                                            DocSchedule
                                                                  11 FiledJ: Your03/09/21
                                                                                  Expenses  Entered 03/10/21 09:46:53                             Desc
                                                                                                                                                     page 1
                                                              Main Document           Page 33 of 52
                  JAYME        K                  FISHER
  Debtor 1                                                                              Case number vtknawn}
                  First Name   Middle Name       Last Name




                                                                                                                          Your expenses

                                                                                                                                            0.00
  5. Additional mortgage payments for your residence, such as home equity loans

  6. Utilities:
      6a. Electricity, heat, natural gas                                                                       6a.    $                   275. 00
      6b. Water, sewer, garbage collection                                                                     6b.    $                    60.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $                   450.00
      6d. Other. Specify:                                                                                      6d.    $                     0.00
  7. Food and housekeeping supplies                                                                            7.     $                   300.00
  8. Childcare and children's education costs                                                                  8.     $                     0. 00
  9. Clothing, laundry, and dry cleaning                                                                       9.     $_                   20. 00
10. Personal care products and services                                                                        10.    $-                    0. 00
11. Medical and dental expenses                                                                                11.    $-                    nnn

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      $                   120.00
    Do not include car payments.                                                                               12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.    $                   100. 00
14. Charitable contributions and religious donations                                                           14.    $                    20.0

 15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $                    80. 00
      l5b. Health insurance                                                                                    15b.   $                     0. 00
      15c. Vehicle insurance                                                                                   15c.   $                   200.00
      l5d. Other insurance. Specify:                                                                           15d.   $                     0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                 16.                          0. 00

17 Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.

      17b. Car payments for Vehicle 2                                                                          17b.

      17c. Other. Specify:                                                                                     17c.                         0.00
      17d. Other. Specify:                                                                                     17d.                         0. 00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                           18.                         0.00
19. Other payments you make to support others who do not live with you.
     Specify:                                                                                                   19. $                       0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.                         0.00
      20b. Real estate taxes                                                                                   20b.                         0.00
      20c. Property, homeowner's, or renter's insurance                                                        20c.                         0.00
      20d. Maintenance, repair, and upkeep expenses                                                            20d.                         0. 00
      20e. Homeowner's association or condominium dues                                                         20e.                         0. 00


                 Case 2:21-bk-01666-PS
Official Form 106J                                     DocSchedule
                                                           11 FiledJ: Your03/09/21
                                                                           Expenses  Entered 03/10/21 09:46:53                       Desc
                                                                                                                                        page 2
                                                       Main Document           Page 34 of 52
                JAYME             K                  FISHER
 Debtor 1                                                                                    Case number (iftnown)
                First Name    Middle Name        Last Name




21. Other. Specify: STUDENT LOANS. PET SUPPLIES                                                                      21.   +$      30. 00


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                                22a.      $    2, 611 96
                                                                                                                                        .




     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2                       22b.      $        0   .   00
     22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.            2611 96 .




23. Calculate your monthly net income.
                                                                                                                            $   1, 722. 25
    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

   23b.     Copy your monthly expenses from line 22c above.                                                      23b.      -$   2, 611.96

   23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                 -889. 71
            The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

    3 No.
    a Yes.        Explain here:




              Case 2:21-bk-01666-PS
Official Form 106J                                       DocSchedule
                                                             11 FiledJ: Your03/09/21
                                                                             Expenses  Entered 03/10/21 09:46:53                Desc
                                                                                                                                   page 3
                                                         Main Document           Page 35 of 52
Fill in this information to identify your case:

Debtor1            -IAYME                    K                    FISHER
                    First Name               Middle Name          Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name           Last Name

                                          DISTRICTOF ARIZONA
United States Bankruptcy Court for the:

Case number
(if known)
                                                                                                                                                 1-1 Checkifthis is an
                                                                                                                                                      amended filing


  Official Form 106Dec
           claration                      bout an ndividual                                       tor's Schedules                                              12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

 You must file this form wheneveryou file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connectionwith a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOTan attorney to help you fill out bankruptcyforms?
       Q No
            Yes. Name of person                                                 .            Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                             Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




        Signal        o Debt 1                                       Signature of Debtor 2


        Date Sj^l 30^1                                               Date
                MM/ DD /         YYYY                                         MM/ DD /   YYYY




 Official FormCase
               106Dec2:21-bk-01666-PS                      Doc  11 About
                                                           Declaration Filedan03/09/21      Entered
                                                                               Individual Debtor's      03/10/21 09:46:53
                                                                                                   Schedules                                           Desc
                                                           Main Document            Page 36 of 52
    Fill in this information to identify your case:

    Debtor1             *IAYME                   K                        FISHER
                        First Name               Middle Name              Last Name


    Debtor 2
    (Spouse, if filing) First Nams               Middle Name              Last Name



    United States Bankruptcy Court for the: DISTRICTOFARIZONA

    Case number
    (If known)                                                                                                                     d Check if this is an
                                                                                                                                      amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/19
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of anyadditional pages, write your name and case
  number (if known). Answer every question.


    Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

         d Married
         E3 Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
        13 No
        Q Yes.Listall oftheplacesyou livedinthelast3 years. Donotincludewhereyou live now.
                Debtor 1:                                          Dates Debtor 1     Debtor 2:                                        Dates Debtor 2
                                                                   lived there                                                         lived there

                                                                                      Q SameasDebtor 1                                Q SameasDebtor 1

                                                                   From                                                                   From
                 Number              Street                                              Number Street
                                                                   To                                                                     To



                 City                         State ZIP Code                             City                   State ZIP Code

                                                                                      Q Same as Debtor 1                              a   Same as Debtor 1


                                                                   From                                                                   From
                 Number              Street                                              Number   Street
                                                                   To                                                                     To



                 City                         State ZIP Code                                                    State   ZIP Code



   3. Withinthe last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? {Community property
      stetes andterritories include Arizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rico, Texas, Washington,and Wisconsin.)
        a No
        BI Yes. Makesure you fill out Schedule H:Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for IndividualsFiling for Bankruptcy                           page 1
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               JAYME           K                     FISHER
Debtor 1                                                                                                Case number wknowni
                First Name     Middle Name           Last Name




  4. Did you have any income from employment or from operating a business duringthis year or the two previous calendaryears?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      a No
      Sl Yes. Fill in the details.
                                                           Debtor 1                                              Debtor 2

                                                           Sources of income            Gross income             Sources of income          Gross income
                                                           Check all that apply.        (before deductions and   Check all that apply.      (before deductions and
                                                                                        exclusions)                                         exclusions)

                                                            Q Wages, commissions,                                Q Wages,commissions,
           From January 1 of current year until
                                                                 bonuses, tips
                                                                                                    1951. 16         bonuses, tips
           the date you filed for bankruptcy:
                                                                 Operating a business                                Operating a business


                                                                 Wages, commissions,                                 Wages, commissions,
           For last calendaryear:
                                                                 bonuses, tips                    69770.00           bonuses, tips
           (January1 to December31, 2020                         Operating a business                                Operating a business
                                             YYYY


                                                                 Wages, commissions,                                 Wages, commissions,
           For the calendar year before that:
                                                                 bonuses, tips                    69286. 00          bonuses, tips
           (January 1 to December 31 ,       2019                Operating a business                                Operating a business
                                             YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of o er/ncome are alimony; child support; Social Security,
     unemployment, and other public benefitpayments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have incomethatyou received together, list it only once under Debtor 1
     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     or No
     a Yes. Fill in the details.
                                                           Debtor 1                                               Debtor 2


                                                           Sources of income            Gross income from         Sources of income         Gross income from
                                                           Describe below.              each source               Describe below.           each source
                                                                                        (before deductions and                              (before deductions and
                                                                                        exclusions)                                         exclusions)



           From January 1 of current year until
           the date you filed for bankruptcy:




           For last calendar year:
           (January1 to December31, 2020
                                             YYYY




           For the calendar year before that:
           (January1 toDecember31, 2019 )
                                             YYYY




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               JAYME              K                         FISHER
Debtor 1                                                                                                Case number viknamn]
               First Name        Middle Name                Last Name




  Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?

     Q No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debtsare defined in 11 U. S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 825* or more?

               1-1 No.Goto line7.
               Q Yes. Listbelow each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               1-1 No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                            Dates of     Total amount paid         Amount you still owe   Was this payment for...
                                                                            payment


                      US BANK - Business Card                              12/18/20      $       10600. 91 $                      6800    Q Mortgage
                      Creditor's Name

                                                                                                                                          a Car
                      PO BOX 790408                                        12/15/20
                      Number    Street
                                                                                               See addendum A
                                                                                                                                          BfCreditcard
                                                                           12/8/20                                                        Q Loanrepayment
                                                                                                                                              Suppliers or vendors
                     ST. LOUIS                   MO         63179
                     City                      State            ZIPCode                                                                   Q Other


                                                                                                                                             Mortgage
                     Creditor's Name
                                                                                                                                          a Car
                     Number     Street
                                                                                                                                          [-1 Credit card
                                                                                                                                          01 Loanrepayment
                                                                                                                                          Q Suppliersorvendors
                                               State            ZIPCode
                                                                                                                                          Q Other
                     City



                                                                                                                                             Mortgage
                     Creditor's Name
                                                                                                                                          a Car
                     Number     Street
                                                                                                                                          1-1 Credit card
                                                                                                                                          1-1Loanrepayment
                                                                                                                                             Suppliers or vendors
                                                                                                                                          1-1Other
                     City                      State            ZIP Code




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ADDENDUM A


                  PAYMENTS TO US BANK - BUSINESSCARD last 90 days



12/08/2020       $200

12/15/2020       $1400

12/18/2020       $750

01/08/2021       $1000

01/12/2021       $500

01/15/2021       $2050

01/26/2021       $200

02/09/2021       $3100

02/18/2021       $282.41

02/25/2021       $1118. 50




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                   JAYME          K                       FISHER
Debtor 1                                                                                                         Case number y known)
                   First Name     Middle Name              Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you        are   an   officer, directori person in control,   or owner    of 20%   or more   of their voting securities; and any managing

     agent, including one for a business you operate as a sole proprietor. 11 U. S. C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     Q No
           Yes. List all payments to an insider.
                                                                             Dates of         Total amount         Amount you still     Reason for this payment
                                                                             payment          paid                 owe



             DAVID WILLIAMS                                                 7/15/20          $_2500 $                              0 REPAYAMOUNTFOR2018
            Insiders Name                                                                                                            FEDERALTAXES
             19447 NORTH 35TH PLACE
            Number       Street
                                                                                                    See addendum B


             PHOENIX                              AZ       85050
            City                                 State    ZIPCode



            Insider's Name



            Number       Street




            City                                 State    ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     Sl No
     Q Yes. Listall paymentsthatbenefitedaninsider
                                                                            Dates of          Total amount         Amount you still     Reason for this payment
                                                                            payment           paid                                      Include creditor's name



            Insider's Name




            Number       Street




            City                                 State    ZIPCode




            Insider's Name




            Number       Street




            City                                 State    ZIPCode



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ADDENDUM B


                  PAYMENTS TO DAVIDWILLIAMS(FATHER) within 1 year


03/15/2020       $500

04/15/2020       $500

05/14/2020       $500

06/15/2020       $500

07/15/2020       $500




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               JAYME                  K                      FISHER
Debtor 1                                                                                                            Case number (ifknown)
                First Name            Middle Name             Last Name




   Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     a No
     13 Yes. Fill inthedetails.
                                                                       Nature of the case                     Court or agency                                  Status of the case

                                                                      DEBTCOLLECTION                          MOON VALLEY JUSTICE
           Case title                                                 ACTION                                Court Name
                                                                                                                                                              Q Pending
                                                                                                                                                              Q Onappeal
           SECOND ROUNDSUB, LLCV. JAYME K. FISHER
                                                                                                              18380 NORTH 40TH STREET
                                                                                                            Number     Street                                 S3 Concluded
           Casenumber CC2020020896RC                                                                        I PHOENIX                       AZ      85032
                                                                                                           ICity                    State   ZIPCode


                                                                      DEBTCOLLECTION                          MOON VALLEYJUSTICE
           Case title                                                 ACTION                               ICourt Name                                            Pending

           CAVALRYSPV 1, LLCV. JAYMEK. FISHER                                                                                                                 Q Onappeal
                                                                                                           I 18380 NORTH 40TH STREET
                                                                  !                                        I Number    Street                                 Q Concluded
           Casenumber CC2021005240RC |                                                                     I PHOENIX                        AZ      85032
                                                                                                           I City                   State   ZIP Code
                                                                  L
  10.Within 1 year beforeyou filed for bankruptcy, was anyof your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     (^ No. Goto line 11.
     Q Yes. Fill in the information below.

                                                                                 Describe the property                                       Date           Value of the property




                Creditor's Name




                Number       Street                                              Explain what happened

                                                                                 Q     Propertywasrepossessed.
                                                                                 Q     Property wasforeclosed.
                                                                                 Q     Property was garnished.
               City                                 State ZIPCode                Q     Property was attached, seized, or levied.
                                                                                 Describethe property                                        Date            Value of the propert)




               Creditor's Name


               Number        Street
                                                                                 Explain what happened

                                                                                 Q     Property was repossessed.
                                                                                 Q     Property wasforeclosed.
                                                                                 1-1   Propertywasgarnished.
               City                                 State   ZIP Code
                                                                                 Q     Property was attached, seized, or levied.


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                   JAYME          K                          FISHER
Debtor 1                                                                                                      Case number {itknown)
                                  Middle Name                Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      ^ No
      a Yes. Fill in the details.

                                                                      Describe the action the creditor took                           Date action      Amount
                                                                                                                                      was taken
           Creditor's Name




           Number     Street




           City                           State ZIPCode               Last 4 digits of account number: XXXX-_


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     12 No
     a Yes

  Part 5:         List Certain Gifts and Contributions



  13. Within2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     Sf No
     LI Yes. Fill in the details for each gift.

            Sifts with a total value of more than $600              Describe the gifts                                                Dates you gave     Value
             per person                                                                                                               the gifts




           Person to Whom You Gave the Gift




           Number    Street




           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600               Describe the gifts                                                Dates you gave    Value
           per person                                                                                                                 the gifts



           Person to Whom You Gave the Gift




           Number    Street




           City                           State ZIPCode

           Person's relationship to you


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                   JAYME               K                       FISHER
Debtor 1                                                                                                          Case number (ifknown)
                    First Name         Middle Name             Last Name




  14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600to anycharity?
     13 No
     Q Yes. Fill in the detailsforeachgiftorcontribution.

             Gifts or contributions to charities                      Describe what you contributed                                        Date you          Value
             that total more than $600                                                                                                     contributed




           Charity's Name




           Number       Street




           City            State        ZIPCode




  Part 6:           List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     ^ No
     a Yes. Fill in the details.

            Describe the property you tost and                        Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                          loss              lost
                                                                      Include the amount that insurance has paid. List pending insurance
                                                                      claims on line 33 of Schedule A/B: Property.




 Part 7:           List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyoneelse acting on your behalfpay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     3 No
     Q Yes. Fill in the details.

                                                                      Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                           transfer was
            PersonWhoWas Paid                                                                                                              made



            Number        Street




            City                           State     ZIPCode


            Email or website address


            Person Who Made the Payment, if Not You



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                   JAYME               K                      FISHER
Debtor 1                                                                                                         Case number {»known)
                   First Name      Middle Name                Last Name




                                                                       Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                        transfer was made     payment


            Person Who Was Paid



            Number       Street




            City                           State   ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



  17 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     \S No
     a Yes. Fill in the details.
                                                                     Description and value of any property transferred                  Date payment or      Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
            Person Who Was Paid



            Number       Street




            City                           State   ZIP Code


  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwisetransfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
           No
     D Yes. Fill in the details.
                                                                     Description and value of property          Describe any property or payments received      Date transfer
                                                                     transferred                                or debts paid in exchange                       was made

           Person Who Received Transfer



           Number        Street




           City                            State   ZIPCode

           Person's relationship to you


           Person Who Received Transfer



           Number       Street




           City                            State   ZIPCode

           Person's relationship to you

Official Form 107                                    Statement of FinancialAffairsfor IndividualsFiling for Bankruptcy                                             pages
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                    JAYME           K                       FISHER
 Debtor 1                                                                                                       Case number (ffknomi)
                    First Name      Middle Name             Last Name




  19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)
      13 No
      Q Yes. Fill inthe details.

                                                                     Description and value of the property transferred                                            Date transfer
                                                                                                                                                                  was made



            Name of trust




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Includechecking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
      13 No
      a Yes. Fill in the details.
                                                                     Last 4 digits of account number      Type of account or            Date account was       Last balance before
                                                                                                          instrument                    closed, sold, moved,   closing or transfer
                                                                                                                                        or transferred


             Name of Financial Institution
                                                                     xxxx-            _ _ _               Q Checking
             Number       Street                                                                          Q Savings
                                                                                                             Money market

                                                                                                          Q Brokerage
             City                       State     ZIPCade
                                                                                                          Q Other

                                                                     xxxx-            _ _ _               Q Checking
             Name of Financial Institution
                                                                                                          Q Savings
             Number       Street                                                                          Q Moneymarket
                                                                                                          Q Brokerage
                                                                                                          Q Other
             City                       State     ZIPCode

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     13 No
     a Yes. Fill in the details.
                                                                     Who else had access to it?                        Describe the contents                          Do you still
                                                                                                                                                                      have it?

                                                                                                                                                                      a No
            Name of Financial Institution                          Name
                                                                                                                                                                      a Yes

            Number       Street                                    Number    Street



                                                                   City        State      ZIPCode
            City                        State     ZIPCode


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                    JAYME          K                         FISHER
Debtor 1                                                                                                            Case number (sknown}
                    First Name     Middle Name               Last Name




 22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     Ei No
     Q Yes. Fill in the details.
                                                                    Who else has or had access to it?                    Describe the contents          Do you still
                                                                                                                                                        have it?

                                                                                                                                                         a No
             Name of Storage Facility                                 Name
                                                                                                                                                         a Yes

             Number       Street                                      Number     Street



                                                                    City State ZIP Code

             City                        State    ZIPCode


  Part 9:             Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     Qt No
     a Yes. Fill in the details.
                                                                   Where is the property?                                Describethe property       Value



             Owner's Name


                                                                  Number       Street
             Number       Street




                                                                  City                           State    ZIPCode
             City                        State    ZIP Code


 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 .   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 .   Site means any location, facility, or property as defined underany environmental law, whetheryou now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
 .   Hazardous material means anything an environmental law defines as a hazardouswaste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental taw?

     2i No
     a Yes. Fill in the details.
                                                                   Governmental unit                          Environmental law, if you know it    Date of notice




           Name of site                                           Governmental     unit



           Number       Street                                    Number       Street


                                                                  City                    State ZIPCoda


           City                         State    ZIPCode



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                   JAYME          K                        FISHER
Debtor 1                                                                                                         Case number (ffknown)
                   First Name     Middle Name              Last Name




  25. Have you notified any governmental unit of any release of hazardous material?

      13 No
      a Yes. Fill in the details.
                                                                  Governmental unit                         Environmental law, if you know it                    Date of notice




            Name of site                                         Governmental    unit



            Number Street                                        Number      Street




                                                                City                    State ZIPCode

            City                      State     ZIP Code



  26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     EZI No
     a Yes. Fill in the details.
                                                                                                                                                                  Status of the
                                                                    Court or agency                              Nature of the case
                                                                                                                                                                  case


           Case title
                                                                    Court Name
                                                                                                                                                                      Pending

                                                                                                                                                                  Q Onappeal
                                                                    Number     Street                                                                             Q Concluded

           Case number
                                                                    City                    State ZIPCode


  Part 11:          Give Details About Your Business or Connections to Any Business

 27. Within4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           Q, A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           13 A member ofa limited liability company (LLC) or limited liability partnership (LLP)
           Q A partnerin a partnership
           Q An officer, director, or managing executive ofa corporation
           L.J An owner ofat least 5%ofthevoting orequity securities ofa corporation
     Q No. None ofthe above applies. Go to Part 12.
     S? Yes.Checkall thatapplyaboveandfill inthedetailsbelowforeachbusiness.
                                                                    Describe the nature of the business                         Employer Identification number
            LEGACYLAW, PLLC                                                                                                     Do not include Social Security number or ITIN.
            Business Name
                                                                I SERVICE BUSINESS
            11111 NORTH SCOTTSDALERi                                                                                            EIN: 47 _4 031                     605
            Number       Street

                                                                    Name of accountant or bookkeeper                            Dates business existed
            SUITE 205
            SCOTTSDALE AZ                       85254
            City                      State     ZIPCode
                                                                    Describe the nature of the business                         Employer Identification number
                                                                                                                                Do not include SocialSecurity numberor ITIN.
            Business Name


                                                                                                                                EIN: __-______.
            Number       Street
                                                                    Name of accountant or bookkeeper                            Dates business existed



                                                                                                                                From               To
            City                      State     ZIP Code |


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                  JAYME           K                    FISHER
Debtor 1                                                                                                   Case number (if known)
                  First Name      Middle Name              Last Name




                                                                   Describe the nature of the business
                                                                                                                            Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
           Business Name

                                                                                                                            EIN: __________
           Number        Street
                                                                   Name of accountant or bookkeeper                         Dates business existed



                                                                                                                           From                To
           City                        State    ZIPCode




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     13 No
     a Yes. Fill in the details below.
                                                                   Date issued




           Name                                                    MM/DD/YYTV




           Number       Street




           City                       State     ZIP Code




 Part 12:         Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




           SignaWre^fDe or 1                                                       Signature of Debtor 2


           Date 3 ? 3&3                                                            Date
       Did you attach additional pages to Your Statementof FinancialAffairsfor Individuals Filing for Bankruptcy (Official Form 107)?

       13 No
       a Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      S3 No
      1-1 Yes. Name of person                                                                        .             Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                    Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1          JAYME                    K                          FISHER
                    First Name              Middle Name               Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name               Last Name


United States Bankruptcy Court for the: DISTRICT OF ARIZONA

Case number                                                                                                                             Q Checkifthis is an
(If known)                                                                                                                                  amended filing



  Official Form 108
  Statement of Intention for ndividuals Filing Under Chapter 7                                                                                        12/15
  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheetto this form. On the top of anyadditional pages,
  write your name and case number (if known).

    Part 1:         List Your Creditors Who Have Secured Claims


    1. For any creditors that you listed in Part 1 of Schedule D: Creditors WhoHave Claims Secured by Property (Official Form 106D), fill in the
         information below.

           Identifythe creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                  secures a debt?                                   as exempt on Schedule C?

         Creditor's                                                               D Surrenderthe property.                          13 No
         name:             FORD MOTOR CREDITCOMP
                                                                                  Q Retain the property and redeem it.              a Yes
         Descriptionof VEHICLEGOOD CONDITION                                      Sl Retain the property andenter into a
         property
         securing debt:                                                              ReafRrmation Agreement.
                                                                                  LI Retain the property and [explain]:


         Creditor's                                                               [-1 Surrenderthe property.                        UNO
         name:
                                                                                  Q Retain the property and redeem it.              a Yes
         Description of
         property
                                                                                  Q Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                  Q Retain the propertyand [explain]:


         Creditor's                                                               Q Surrenderthe property,                          Q No
         name:
                                                                                  Q Retain the property and redeem it.              a Yes
         Description of
         property
                                                                                  Q Retain the property and enter into a
         securing debt:                                                              Reafflrmation Agreement.
                                                                                  Q Retain the property and [explain]:


         Creditor's                                                               D Surrenderthe property.                          a No
         name:
                                                                                  D Retain the propertyand redeemit.                a Yes
         Description of
         property
                                                                                  01 Retain the propertyandenterinto a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                  Q Retain the propertyand [explain]:

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                    JAYME        K             FISHER
  Debtor 1                                                                                  Case number (Ifknown)
                    First Name   Middle Name    Last Name




    Part 2:         List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

        Lessor's name:                                                                                              a No
                                                                                                                    a Yes
        Description of leased
        property:


        Lessor's name:                                                                                              a No
                                                                                                                    a Yes
        Description of leased
        property:


        Lessor's name:                                                                                              a No
        Description of leased                                                                                       a Yes
        property:



        Lessor's name:                                                                                              a No
                                                                                                                    a Yes
        Description of leased
        property:



        Lessor's name:                                                                                              a No
                                                                                                                    a Yes
        Description of leased
        property:


        Lessor's name:                                                                                              Q No
                                                                                                                    a Yes
        Description of leased
        property:


        Lessor's name:                                                                                              a No
                                                                                                                    a Yes
       Description of leased
       property




   Part 3:          Sign Below



      Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debtand any
      personal property that is subject to an unexpired lease.




       Sign ur      f De or 1                                    Signature of Debtor 2

       Date      3 8 , 30^1                                      Date
              MM/ DD / YYYY                                             MM/ DD / YYYY



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